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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

HDP SELLERS REPRESENTATIVE, LLC                    )
                                                   )
              Plaintiff                            )
                                                   )
v.                                                 ) Miscellaneous Action No:
                                                   )
                                                   ) (Middle Dist. of Louisiana, No. 14-491)
                                                   )
OCEANS ACQUISITION, INC.                           )
                                                   )
              Defendant                            )


               MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
                     TO GENERAL CATALYST PARTNERS

       Plaintiff HDP Sellers Representative, L.L.C. (“HDP”) hereby files this Motion to Compel

Compliance with Subpoena to General Catalyst Partners and specifically requests that this Court

compel General Catalyst Partners to comply with the subpoena issued upon it for the reasons set

forth in the attached Memorandum in Support.

Dated: October 30, 2015

                                            HDP SELLERS REPRESENTATIVE, LLC

                                            Respectfully submitted,
                                               /s/ Brendan St. Amant
                                            George W. Vien (BBO# 547411)
                                            Brendan T. St. Amant (BBO# 672619)
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                                            Ryan M. Falgoust (LBN 33823)*
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                                              Baton Rouge, Louisiana 70816
                                              Telephone: 225-298-8118
                                              Facsimile: 225-298-8119
                                              rfalgoust@hymeldavis.com

                                              *Pro hac admission pending

                                 CERTIFICATE OF SERVICE

        Pursuant to L.R. 5.2(b)(2) and 5.4 of the Local Rules of the United State District Court
for the District of Massachusetts, I hereby certify that this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                              /s/ Brendan St. Amant
                                              Brendan St. Amant

                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

        I hereby certify that Louisiana counsel for HDP Sellers Representative, LLC in the
Action conferred with general counsel for General Catalyst Partners, Chris McCain, in a good
faith effort to resolve or narrow the issues presented by this Motion via telephone conference on
October 23, 2015. Louisiana counsel for HDP and Mr. McCain expressed a mutual desire to
amicably resolve the dispute raised by this Motion, but it was understood that additional time is
needed. Mr. McCain acknowledged that he understands that the filing of this Motion is necessary
so that HDP can meet filing deadlines as set forth by the Middle District of Louisiana and so that
HDP can preserve its rights to compel compliance with the subpoena should the parties be
unable to resolve the dispute.

                                              /s/ Brendan St. Amant
                                              Brendan St. Amant




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